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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 LCCS GROUP,

       Plaintiffs,                             No. 16-cv-05827

              v.                               Judge John F. Kness

 A.N. WEBBER LOGISTICS, INC., et
 al.,

       Defendants.



                                      ORDER

      Plaintiff’s motion for default judgment [362] is granted. Final judgment is
entered in favor of Plaintiff LCCS Group and against defaulting Defendants GC
Electronics, Johnston & Chapman Inc., Si-Tech Industries Inc., and Vanderhyden
Septic Service Co. See accompanying Statement for details. Enter separate final
judgment order. Civil case terminated.

                                   STATEMENT

Background

       Plaintiff LCCS Group filed this action against Defendants GC Electronics,
Johnston & Chapman Inc., Si-Tech Industries Inc., and Vanderhyden Septic Service
Co., among others, under the Comprehensive Environmental Response,
Compensation and Liability Act of 1980 (CERCLA) for recovery of environmental
responses costs. (Dkt. 1 (Complaint).) Plaintiff is an association of companies that
was formed to coordinate various managerial responsibilities related to the Lake
Calumet Cluster Site (“LCCS Site”)—approximately 87 acres of land in Cook County,
Illinois. (Id. ¶¶ 1, 28.) In 2017, Plaintiff moved for default under Rule 55(a) of the
Federal Rules of Civil Procedure. (Dkts. 213, 214, 215, 312.) Because Defendants
never filed answers or otherwise responded to the complaint, the Court entered
default against each of the four defendants listed in this order. (Dkts. 218, 219, 220,
312.) On December 4, 2020, Plaintiff filed the present motion for default judgment
against the four defendants (Dkt. 362) and served copies of the motion on those
defendants by U.S. Priority Mail. (Dkts. 369, 370, 371, 372.) As of the date of this
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order, the four defendants have not appeared in this action and have not responded
to the motion for default judgment despite having been provided with notice of the
motion (Dkt. 369-72).

Legal Standard for Entry of Default and Default Judgment

       Rule 12(a) of the Federal Rules of Civil Procedure generally requires a
defendant to file an answer within 21 days after the service of the summons and
complaint. The failure to do so may result in the defendant’s default under Rule 55(a).
When a party “against whom a judgment for affirmative relief is sought has failed to
plead or otherwise defend, and that failure is shown by affidavit or otherwise, the
clerk must enter the party’s default.” Fed. R. Civ. P. 55(a). An entry of default must
precede a default judgment. See Fed. R. Civ. P. 55(b). Upon the entry of default, the
“well-pled allegations of the complaint relating to liability are taken as true. . . .”
Wehrs v. Wells, 688 F.3d 886, 892 (7th Cir. 2012) (citing United States v. Di Mucci,
879 F.2d 1488, 1497 (7th Cir. 1989)); Fed. R. Civ. P. 8(b)(6) (“An allegation—other
than one relating to the amount of damages—is admitted if a responsive pleading is
required and the allegation is not denied”). Entry of default judgment is left to the
sound discretion of the district court. See Dundee Cement Co. v. Howard Pipe &
Concrete Prods., Inc., 722 F.2d 1319, 1322 (7th Cir. 1983); see also C.K.S. Eng’rs, Inc.
v. White Mountain Gypsum Co., 726 F.2d 1202, 1206 (7th Cir. 1984) (although the
law favors trial on the merits, these considerations must be balanced against the need
to promote efficient litigation and to protect the interests of all litigants).

Liability of Defendant

       Defendants GC Electronics, Johnston & Chapman Inc., Si-Tech Industries
Inc., and Vanderhyden Septic Service Co. failed to file answers within 21 days of
service of the complaint and are in default. As a result, the Court must accept as true
the well-pleaded allegations of Plaintiffs’ complaint concerning liability. Wehrs, 688
F.3d at 892.

       As established by the complaint, Defendant companies generated and/or
transported hazardous substances that were disposed of at the LCCS Site. Plaintiff
brought suit against the four defendants (and many others), alleging “a ‘release’
and/or threat of ‘release’ of ‘hazardous substances’ at the LCCS Site which . . . caused
the incurrence of ‘response costs’ by the LCCS Group.” (Dkt. 1 ¶ 492.) In Count I,
Plaintiff sought contribution under CERCLA for the defendants’ “equitable shares of
all past and future responses costs, plus interest and costs of suit.” (Id. ¶¶ 482-502.)
In Count II, Plaintiff sought a declaratory judgment that each defendant was liable
under CERCLA and “obligated to pay for their equitable shares of all past and future
response costs associated with the LCCS Site.” (Id. ¶¶ 503-507.)




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Damages

       Upon default, the “well-pled allegations of the complaint relating to liability
are taken as true, but those relating to the amount of damages suffered ordinarily
are not.” Wehrs, 688 F.3d at 892 (citing Di Mucci, 879 F.2d at 1497); Fed. R. Civ. P.
8(b)(6) (“An allegation—other than one relating to the amount of damages—is
admitted if a responsive pleading is required and the allegation is not denied”). Rule
55(b)(2) of the Federal Rules of Civil Procedure provides that “[t]he court may conduct
hearings . . . when, to enter or effectuate judgment, it needs to: . . . determine the
amount of damages. . . .” Fed. R. Civ. P. 55(b)(2). A judgment by default “may not be
entered without a hearing on damages unless the amount claimed is liquidated or
capable of ascertainment from definite figures contained in the documentary evidence
or in detailed affidavits.” DiMucci, 879 F.2d at 1497.

        In this case, because Plaintiffs have submitted detailed documentary evidence
describing the amounts owed by Defendants under CERCLA (see Dkts. 362-1, 362-2,
362-3), the Court need not hold an evidentiary hearing to ascertain the appropriate
relief. Accordingly, the Court finds that Plaintiff is entitled to:

      $3,006.60 from Defendant GC Electronics for Plaintiff’s damages through
       January 13, 2017 plus 0.1516% of all response costs incurred by Plaintiff at the
       LCCS Site after January 13, 2017;
      $75.36 from Defendant Johnston & Chapman Inc. for Plaintiff’s damages
       through January 13, 2017 plus 0.0038% of all response costs incurred by
       Plaintiff at the LCCS Site after January 13, 2017;
      $64,376.31 from Defendant Si-Tech Industries, Inc. for Plaintiff’s damages
       through January 13, 2017 plus 3.2460% of all response costs incurred by
       Plaintiff at the LCCS Site after January 13, 2017; and
      $4,080.50 from Vanderhyden Septic Service Co. for Plaintiff’s damages
       through January 13, 2017 plus 0.2060% of all response costs incurred by
       Plaintiff at the LCCS Site after January 13, 2017.

Post-Judgment Interest

       Plaintiff also requests that the Court award post-judgment interest “at the rate
of 2.22% per annum.” (Dkt. 362-4.) But the award and computation of post-judgment
interest are governed by statute. 28 U.S.C. § 1961; see Sea-Land Servs., Inc. v. Pepper
Source, No. 88 C 4861, 1992 WL 168537, at *7 (N.D. Ill. July 10, 1992), aff’d, 993 F.2d
1309 (7th Cir. 1993) (applying 28 U.S.C. § 1961 to calculate post-judgment interest
owed in conjunction with default judgment award); United States v. Kerr, No. 15 C
503, 2015 WL 5904777, at *1 n.2 (N.D. Ill. Oct. 7, 2015). Accordingly, the Court
awards Plaintiff post-judgment interest to the extent allowed under 28 U.S.C. § 1961.




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Conclusion

       For the reasons stated above, Plaintiff’s motion for default judgment (Dkt. 362)
is granted. Plaintiff LCCS Group is entitled to:

      $3,006.60 from Defendant GC Electronics for Plaintiff’s damages through
       January 13, 2017 plus 0.1516% of all response costs incurred by Plaintiff at the
       LCCS Site after January 13, 2017;
      $75.36 from Defendant Johnston & Chapman Inc. for Plaintiff’s damages
       through January 13, 2017 plus 0.0038% of all response costs incurred by
       Plaintiff at the LCCS Site after January 13, 2017;
      $64,376.31 from Defendant Si-Tech Industries, Inc. for Plaintiff’s damages
       through January 13, 2017 plus 3.2460% of all response costs incurred by
       Plaintiff at the LCCS Site after January 13, 2017; and
      $4,080.50 from Vanderhyden Septic Service Co. for Plaintiff’s damages
       through January 13, 2017 plus 0.2060% of all response costs incurred by
       Plaintiff at the LCCS Site after January 13, 2017.

      Plaintiff is also entitled to post-judgment interest to the extent allowed under
28 U.S.C. § 1961. A final judgment order will be entered separately.

SO ORDERED in No. 16-cv-05827.

Date: September 27, 2021
                                               JOHN F. KNESS
                                               United States District Judge




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